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1                               UNITED STATES DISTRICT COURT
2                                      DISTRICT OF NEVADA
3
     UNITED STATES OF AMERICA,                       )
4                                                    )
5
                          Plaintiff,                 )        Case No.: 2:09-cr-0113-GMN-PAL
             vs.                                     )
6                                                    )                    ORDER
     ADOLPH VARGAS,                                  )
7                                                    )
                          Defendant.                 )
8
                                                     )
9

10           Pending before the Court is Defendant Adolph Vargas’s Motion for a Sentence
11   Reduction under Amendment 782 of 18 U.S.C. 3582(c) (ECF No. 511), and the Federal Public
12   Defender’s Motion to Withdraw as Attorney (ECF No. 517).

13           Defendant was originally sentenced pursuant to a downward variance to a sentence that

14   is less than the low end of the amended sentencing range of 135 – 168 months. Accordingly,

15   the Court finds that Defendant is ineligible for any reduction in sentence pursuant to 18 U.S.C.

16   § 3582(c)(2), Amendment 782, and pursuant to U.S.S.G. § 1B1.10, effective November 1,

17
     2014.

18
             IT IS HEREBY ORDERED that Defendant’s Motion for a Sentence Reduction (ECF

19
     No. 511) is DENIED.

20
             IT IS FURTHER ORDERED that the Federal Public Defender’s Motion to Withdraw

21
     as Attorney (ECF No. 517) is GRANTED.
                          4 day of December, 2015.
             DATED this _____
22

23

24                                                ___________________________________
                                                  Gloria M. Navarro, Chief Judge
25                                                United States District Judge


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